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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE


 IN RE:

 EX PARTE APPLICATION OF SPS CORP I –
 FUNDO DE INVESTIMENTO EM
 DIREITOS CREDITÓRIOS NÃO
                                                Case No.: 1:21-mc-565-CFC
 PADRONIZADOS FOR AN ORDER TO
 TAKE DISCOVERY PURSUANT TO 28
 U.S.C. § 1782
               Applicant.




       SPS CORP I – FUNDO DE INVESTIMENTO EM DIREITOS
    CREDITÓRIOS NÃO PADRONIZADOS’ MEMORANDUM OF LAW
       REPLY TO RESPONDENTS’ OPPOSITIONS TO EX PARTE
    APPLICATION FOR AN ORDER PURSUANT TO 28 U.S.C. § 1782 TO
      OBTAIN DISCOVERY FOR USE IN FOREIGN PROCEEDINGS


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                                      Creditórios Não Padronizados




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         SPS Corp I – Fundo de Investimento em Direitos Creditórios Não

Padronizados (“SPS” or “Applicant”) respectfully submits this Reply to

Respondents’ Oppositions to its Ex Parte Application for an Order Pursuant to 28

U.S.C. § 1782 to Obtain Discovery for Use in Foreign Proceedings (the

“Oppositions”). (D.I. 12, 15, 16).

                                PRELIMINARY STATEMENT

         As demonstrated in SPS’s application for discovery under 28 U.S.C. § 1782 (the

“1782 Application” or the “Application”), together with the first and additional

declarations of Mr. Bruno Poppa1, the applicable statutory and discretionary factors all

weigh in favor of granting SPS the discovery it seeks:

         (i) SPS is a party to a foreign proceeding that seeks the evidence for use in that

proceeding, as well as in a contemplated foreign proceeding – both of which are or

would be against General Motors do Brazil LTDA (“GM Brazil”), a Brazilian

company;

         (ii) Respondents are undoubtedly “found in” this District, as they are all

organized under the laws of Delaware;

         (iii) SPS is an interested person, as it is a party to the Brazilian proceeding and

would be a party to a contemplated proceeding in Brazil;




         1
             Mr. Poppa’s additional declaration is attached hereto as Ex. A.


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         (iv) Respondents are not parties to the foreign proceeding and will not be

parties to the contemplated proceeding;

         (v) the foreign tribunal would be receptive to the discovery sought, as SPS has

obtained two favorable rulings in the foreign proceeding requiring GM Brazil to

produce the documents – both of which GM Brazil has refused to comply with;

         (vi) SPS is not seeking to circumvent foreign proof-gathering restrictions or

other policies of a foreign country or the United State, as the foreing tribunal has not

rejected requests for the same documents – indeed, the opposite is true here; and

         (vii) the requests are not unduly burdensome, as they seek a discrete set of

documents that should be readily identifiable and easy for Respondents to produce.

         Faced with these facts, Respondents focus their Oppositions on arguing that

(a) the true target of the 1782 Application is GM Brazil, rather than Respondents,

and (b) the requested discovery will not be admissible in the foreign proceedings.

         The first contention should be rejected because it confuses the true target

against which the dicovery sought will be used (GM Brazil), with the target from

whom discovery is sought in this Application (Respondents).               Respondents

repeatedly argue that the documents are in the possession of GM Brazil, but that is

not the critical inquiry. Rather, the critical inquiry is whether the documents are in

Respondents’ possession, custody, or control – a fact that none of the Respondents

has denied. If Respondents truly did not have possession, custody, or control over



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     the requested discovery, they would have showcased that fact in their Oppositions.

     They did not because, as alleged by SPS, they do have possession, custody, or

     control of the discovery sought. Moreover, Respondents’ arguments ignore the

     plethora of cases where Section 1782 applications have been granted even where a

     foreign affiliate is a party to the foreign proceeding and may be in possession of

     some or all of the sought-after discovery. See, e.g., In re Top Matrix Holdings Ltd.,

     2020 WL 248716, at *5 (S.D.N.Y. Jan. 16, 2020) ( “[T]hat information possessed

     by Credit Suisse USA is also likely possessed by Credit Suisse in Switzerland is not

     relevant.”). Even more significantly, Respondents ignore the fact that SPS has

     already sought the discovery from GM Brazil, obtained favorable court orders, and

     still has not been able to obtain the discovery because GM Brazil has refused to

     comply with those orders. As a result, SPS filed the instant Application, which

     should be granted.

              The Oppositions should accordingly be denied.

                                          ARGUMENT

I.            CONTRARY TO RESPONDENTS’ CLAIMS, THE APPLICANT
              SATISFIES ALL THREE STATUTORY REQUIREMENTS UNDER
              SECTION 1782.
              Respondents argue SPS fails to satisfy two of the three statutory requirements

     under Section 1782: (i) that the evidence SPS seeks in its Application is not “for use”

     in a foreign proceeding that is within reasonable contemplation; and (ii) that the



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targets of the discovery neither reside in nor are found in this District. (D.I. 12 at 2.)

First, the discovery SPS seeks here is for use both in foreign proceedings. Second,

Respondents are all Delaware-incorporated companies that are not parties to the

Brazilian Proceeding, nor will they be parties to the contemplated proceeding.

Respondents do not contend that SPS is an interested person in the foreign

proceedings.

         Accordingly, the Court should grant the Application. See In re Bayer AG, 146

F.3d at 195 (“[D]istrict courts should treat relevant discovery materials sought

pursuant to § 1782 as discoverable unless the party opposing the application can

demonstrate facts sufficient to justify the denial of the application.”).


A.       The Discovery Sought by the Applicant is “For Use” in Foreign
         Proceedings.

         Applicant is a party in a Brazilian proceeding and has twice secured favorable

orders from the São Paulo State Court directing GM Brazil to produce the documents

it requested as part of that proceeding. Respondents incorrectly state that SPS does

not have standing to initiate a contemplated proceeding in Brazil based solely on its

unilateral argument that SPS does not have a cause of action. (D.I. 12 at 2- 3.) The

argument fails as a matter of law.

         The Supreme Court as well as this Circuit have held that a Section 1782

request can be used to obtain information before the foreign proceeding is



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commenced so long as it is within reasonable contemplation. See Intel Corp. v.

Advanced Micro Devices, Inc., 542 U.S. 241, 243, 259 (2004) (Section 1782

“requires only that a dispositive ruling…be within reasonable contemplation.”); see

also In re Hornbeam Corp., 722 F. App’x 7, 9 (2d Cir. 2018)

         In determining whether a proceeding is “within reasonable contemplation,”

courts have considered various factors, including whether the applicant has (1)

retained foreign counsel; (2) reviewed certain company documents; (3) retained

experts; (4) made affirmative representations in oral argument that they would file

the action before a specific time period; (5) provided valid reasons for obtaining the

requested discovery; and (6) provided a detailed, legitimate explanation of its

ongoing investigation.      See, e.g., Application of Consorcio Ecuatoriano de

Telecomunicaciones S.A. v. JAS Forwarding (USA), Inc., 747 F.3d 1262, 1271 (11th

Cir. 2014) (; see also Sandra Holding Ltd. v. Al Saleh, No. 18-mc-91406-PBS, 2019

WL 3072197, at *3 (D. Mass. July 15, 2019);In re Hansainvest Hanseatische

Investment-GmbH, 364 F. Supp. 3d 243, 249 (S.D.N.Y. 2018) (finding that an action

was “reasonably contemplated” where the applicants had hired German counsel,

retained experts, sent a detailed demand and “critically” where the applicants’

counsel “made an affirmative representation at oral argument that the [a]pplicants

would file their litigation before the end of the year”); In re Hornbeam Corp., 722

F. App’x at 9 (finding that a proceeding was within reasonable contemplation



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including because the applicant had previously brought two actions against the

corporation from which it was seeking discovery and “represented that it intended

to initiate further litigation once it obtained additional information.”); Consorcio

Ecuatoriano, 747 F.3d at 1270-71.

         As set forth on the exhibits attached to the Application and Mr. Bruno Poppa’s

declarations, the contemplated proceeding in Brazil is certainly within reasonable

contemplation and more than just a twinkle in counsel’s eye.

         Respondents argue that the discovery Applicant seeks will not be “for use” in

the Brazilian proceedings. That argument also fails. In making this argument,

Respondents rely on Certain Funds, Accounts and/or Inv. Vehicles v. KPMG, LLP,

798 F.3d 113, 122 n.11 (2d Cir. 2015). In that case, however, the applicant was not

a party to any foreign proceeding, and there was no mechanism whereby the material

sought could be used in a contemplated foreign proceeding. This is not the case for

Applicant, which has its credit rights recognized by GM Brazil and Respondents, is

already a party in the foreign proceeding and could be a party to the contemplated

foreign proceeding.


B.       The Statute’s “Found in” Element is Satisfied, as All Respondents are
         Found in This District.

         Respondents argue that the Application does not target an entity “found” in

this District because GM Brazil, an overseas wholly owned subsidiary, is the “true



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target” of the Application. See D.I. 12 at 2. As courts rightly conclude, however,

these “true target” arguments “wildly overcomplicate § 1782(a)’s ‘found in’

requirement.” Matter of De Leon, 2020 WL 1180729, at *4 (S.D. Ohio Mar. 12,

2020). Section 1782 is satisfied when the recipient of the Section 1782(a) subpoena

“resides or is found” in the District where the application was brought.            Id.

Respondents (all Delaware corporations) admit that they are all found in this District,

and the proposed subpoenas are limited to evidence in their possession, custody, or

control.

         Respondents’ real argument seems to be that they are the “wrong” target of

the Application because GM Brazil is the company that may also have relevant

discovery. Again, this is an argument that has been rejected in other cases. In De

Leon, for example, the court rejected that argument because, like here, the proposed

recipient of the subpoenas “undisputedly” resided in the District. Id. As the court

observed, Section 1782(a) authorizes discovery to proceed “in accordance with the

Federal Rules of Civil Procedure.” 28 U.S.C. § 1782(a). And the Federal Rules of

Civil Procedure require a subpoenaed party to produce records in its “possession,

custody, or control.” Fed. R. Civ. P. 45(a)(1)(A)(iii). This makes Respondents the

proper targets of Section 1782 for any discovery in its possession, custody, or

control. See Matter of De Leon, 2020 WL 1180729, at *5; see also de Leon v. Clorox

Co., 2021 WL 718840, at *4 (N.D. Cal. Feb. 24, 2021)



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II.      THE DISCRETIONARY FACTORS UNDER SECTION 1782 WEIGH
         HEAVILY IN FAVOR OF PERMITTING THE DISCOVERY
         SOUGHT BY THE APPLICANT

         A.    Intel Factor No. 1 – Respondents Are not Parties to the Foreign
               Proceedings.

         As Respondents concede, they are not parties to the foreign proceeding nor

the contemplated proceeding.      Respondents resort to theorizing that the same

evidence Applicant here seeks may also be in the possession of GM Brazil, the

respondent in the Brazilian proceeding and defendant to the Contemplated

Proceeding. See D.I. 12 at 2. But that has little, if any, relevance to the first Intel

factor. Where, as here, Respondents are not participants in the foreign proceedings,

Section 1782 discovery is proper even if the same or similar evidence may be

available from other sources. See In re Top Matrix Holdings, Ltd., 2020 WL 248716,

at *5 . See In re O'Keeffe, 646 F. App'x 263 (3d Cir. 2016). (“District court did not

abuse its discretion in finding that evidence sought was not within foreign tribunal’s

jurisdictional reach, weighing in favor of order to issue subpoena requesting

production of documents under federal statute that permitted domestic discovery for

use in foreign proceedings, where person to whom subpoena was directed was not

participant in foreign litigation and was outside foreign tribunal’s jurisdictional

reach. 28 U.S.C.A. § 1782.”).




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         B.    Intel Factor No. 2 – Respondents Fail to Meet their Burden to
               Show That the Foreign Tribunal Would Not Be Receptive to
               Discovery Sought Pursuant to § 1782.

         The second Intel factor is “the receptivity of the foreign government or the

court or agency abroad to U.S. federal-court judicial assistance.” Intel, 542 U.S. at

264. Respondents bear the burden to show a lack of receptivity through “affirmative

evidence, such as evidence showing that the foreign jurisdiction rejected outright

federal judicial assistance from the United States.”          In re Application of

Imanagement Servs., 2006 WL 547949, at *4 (D.N.J. February 28, 2006); see also

Matter of HES (Caribbean) Int’l Holdings, S.R.L., 2020 WL 728892, at *3 (D.N.J.

Feb. 13, 2020) (“[P]arties that apply for discovery under § 1782 enjoy a presumption

in favor of foreign tribunal receptivity that can only be offset by reliable evidence

that the tribunal would reject the evidence.”). Unless there is “authoritative proof

that a foreign tribunal would reject evidence obtained with the aid of section 1782,”

In the Matter of Euromepa, S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1100 (2d Cir.

1995), “courts generally should err on the side of permitting the requested [Section

1782] discovery.” In re Gemeinshcaftspraxis Dr. Med. Schottdorf, 2006 WL

3844464, at *6 (N.Y.S.D. December 29, 2006). And “[t]he party opposing the

discovery bears the burden of persuading the Court that the foreign tribunals would

not consider the discovery sought under § 1782.” In re Application of Gilead




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Pharmasset LLC, 2015 WL 1903957, at *2 (D. Del. Apr. 14, 2015). Respondents

fail to satisfy that heavy burden.

         Respondents cannot demonstrate that any Brazilian Court is unreceptive to

receiving evidence submitted by SPS. This fact is fatal to Respondents’ position.

         Respondents do not even try to dispute that Brazilian Courts would be

receptive to § 1782 discovery, as shown by Brazil’s execution of the Hague

Convention (See D.I. 2 at 23 and 24).

         Respondent fails to identify any reason why the second Intel factor would

weigh against granting Applicant’s request for discovery. See In re Oxus Gold PLC,

No. MISC 06-82-GEB, 2007 WL 1037387, at *6 (D.N.J. Apr. 2, 2007). (“Turning

next to the issue of admissibility, the Court notes that this Circuit has consistently

held that a party seeking a discovery order under 28 U.S.C. § 1782 need not

demonstrate that the information sought would be admissible in the foreign

proceedings. In re Bayer, 146 F.3d at 193; see also John Deere, Ltd., 754 F.2d at

133 (holding that 28 U.S.C. § 1782(a) does not require district court to consider the

ultimate admissibility of evidence in the foreign jurisdiction.). The argument that the

Section 1782 Order should be vacated on the ground that the evidence sought would

not be neither discoverable nor admissible in the foreign proceedings is therefore

unavailing.”)




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         C.    Intel Factor No. 3 – The Application Does Not Circumvent
               Foreign or U.S. Laws and Policies.

         The third Intel factor considers “whether the § 1782 request is essentially an

attempt to circumvent foreign proof-gathering restrictions.” Via Vadis Controlling

GmbH v. Skype, Inc., 2013 WL 646236, at *2 (D. Del. Feb. 21, 2013). This factor

applies only in the extreme circumstances where a § 1782 application would

circumvent “proof-gathering restrictions,” that is, “rules akin to privileges that

prohibit the acquisition or use of certain materials,” Mees v. Buiter, 793 F.3d 291,

303 n.20 (2d Cir. 2015), or “when the foreign tribunal has already rejected requests

for the same documents,” In re Ex Parte Application of Eni S.p.A., 2021 WL

1063390, at *4 (D. Del. Mar. 19, 2021). In assessing this factor, courts look to

“whether a foreign court has denied the moving party access to the documents at

issue.” INVISTA N. Am. S.A.R.L. v. M & G USA Corp., 2013 WL 1867345, at *4 (D.

Del. Mar. 28, 2013), report and recommendation adopted sub nom. INVISTA N. Am.

S.A.R.I. v. M7G USA Corp., 2013 WL 2456252 (D. Del. June 5, 2013).

         None of those circumstances is present here. On the contrary, Respondents

concede that the Brazilian Court has not denied Applicant access to the discovery

sought in the Brazilian proceedings, nor have Respondents pointed to any discovery

restriction or policy applying to a Brazilian judicial proceeding that would prevent

the discovery sought here. See In re Liverpool Ltd. P'ship, 2021 WL 3793901, at *2

(“If … rules and policies allow the discovery sought by [Applicant’s] subpoena


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without restriction, [Applicant] can’t logically be accused of circumventing those

rules and policies.”). That undisputed fact alone tips the third Intel factor decisively

in Applicant’s favor. See, e.g., In re Chevron Corp., 633 F.3d 153, 163 (3d Cir.

2011) (“Without a definitive determination that the [foreign court] has denied . . .

access to the same documents [sought in the §] 1782 discovery application . . . it

cannot be said that [the] application is ‘an attempt to circumvent foreign proof-

gathering restrictions.’”). In addition, “an applicant is not required to exhaust

foreign options before requesting that a district court grant discovery under 28

U.S.C. § 1782(a).” Matter of HES (Caribbean) Int’l Holdings, S.R.L., 2020 WL

728892, at *4.

         D.    Intel Factor No. 4 – The Application is Not Overly Intrusive or
               Burdensome.

         The final Intel factor looks to whether the discovery requests are “unduly

intrusive or burdensome.” Intel, 542 U.S. at 265. This determination is considered

under the same standard set forth in Federal Rules of Civil Procedure 26 and 45. See

In re Application of Global Energy Horizons Corp., 647 F. App’x 83, 86 (3d Cir.

2016). The Subpoenas plainly satisfy this requirement as they limit the document

requests to straightforward requests and seek narrow categories of information

concerning the contractual relationship between Applicant and GM Brazil related to

the IPI tax credits. Respondents’ efforts to paint those targeted requests as unduly

burdensome are unavailing. Indeed, Respondents provide no evidence about the


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large volume of responsive material, no data about electronic or hard copy

collection, and nothing about time or resources needed for any review. Indeed,

Respondents highlight many alleged burdens that have been explicitly considered

and rejected by this very Court. See In re Liverpool Ltd. P'ship, 2021 WL 3793901,

at *3 (Respondent’s “contention that ‘the subpoena would require it to import these

documents from Japan, translate the documents, and have U.S. attorneys review the

documents—only then to have the documents eventually shipped back to Japan for

use in a Japanese appraisal proceeding’ is ill founded.”)

         In short, there is no legitimate burden, let alone an “undue” burden in

responding to the proposed discovery. And if the Court has concerns about the

requested discovery, the remedy is to tailor that discovery rather than deny the

application outright. Mees, 793 F.3d at 302.

                                   CONCLUSION

         For the reasons set forth above and in the Applicant’s 1782 Application and

memorandum of law in support thereof, the Court should deny Respondents’

Oppositions and grant the Application.




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                                          Respectfully submitted,

Dated: April 25, 2022
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